       Case 1:15-cv-01143-MV-KBM Document 20 Filed 03/15/16 Page 1 of 4



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW MEXICO

IRENE GALLEGOS,

       Plaintiff,

v.                                                            No.: 1:15-cv-01143 MV/KBM

CENTRAL DESERT BEHAVIORAL HEALTH HOSPITAL,
FUNDAMENTAL CLINIC AND OPERATIONAL SERVICES, LLC,
And DOES 1-10,


       Defendants.

     MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

       COMES         NOW   Plaintiff,   Irene   Gallegos,   by     and   through     her    attorneys,

Guebert Bruckner P.C. (Christopher J. DeLara, David C. Odegard and Elizabeth M. Piazza), and

move for leave to file Plaintiff’s First Amended Complaint.

       1.      Irene Gallegos filed her Complaint for Medical Negligence, Hospital Negligence,

General Negligence, Breach of Actual and Implied Contract, Vicarious Liability and

Res Ipsa Loquitur on October 22, 2015 in the Second Judicial District Court in the State of

New Mexico.

       2.      The    Complaint   identified    Central   Desert   Behavioral      Health   Hospital,

Fundamental Clinical and Operational Services, LLC as Defendants.

       3.      The Complaint also named unidentified employees, agents, apparent agents

and/or contractors of Central Desert Behavioral Health and/or Fundamental Clinical and

Operational Services, LLC as Does 1-10.

       4.      The case was removed to U.S. District Court for the District of New Mexico on or

about December 16, 2015. See Notice of Removal, Doc. No. 1.
       Case 1:15-cv-01143-MV-KBM Document 20 Filed 03/15/16 Page 2 of 4



       5.        The   Notice    of   Removal     identified   Behavioral   Health    Services   of

New Mexico, LLC d/b/a Central Desert Behavioral Health Center as the correct name for the

entity previously identified in the Complaint as Central Desert Behavioral Health Hospital.

       6.        On or about February 8, 2016, the Joint Status Report and Provisional Discovery

Plan was filed. See Doc. No. 12.

       7.        The Joint Status Report and Provisional Discovery Plan also identified some

of the employees, agents, apparent agents and/or contractors of Central Desert Behavioral

Health Center.

       8.        Plaintiff seeks to amend the Complaint to correctly identify Behavioral Health

Services, LLC d/b/a Central Desert Behavioral Health Center, and correctly identify some of the

Does 1-10.

       9.        Plaintiff also seeks to amend the Complaint to include claims for Violations of the

Resident Abuse and Neglect Act, and for Negligence Per Se.

       10.       Defendants have been contacted and oppose this Motion to the extent it seeks to

amend to identify Defendant Does as Dr. David Durham and Janet Stone. Defendants do not

oppose the Motion to the extent that it was correctly identify Behavioral Health or add the

additional claim under the New Mexico Resident Abuse Act.

       11.       A copy of the proposed Amended Complaint is attached hereto as Exhibit A.

                                           ARGUMENT

       Fed. R. Civ. P. Rule 15(a)(2) provides that a Plaintiff may amend their complaint

by leave of the Court. “Rule 15(a) is very liberal and leave to amend shall be freely given

when justice so requires.” AmerisourceBergen Corp. v. Dialysist West, Ind., 4665 F.3d 946,

951 (9th Cir. 2006). In absence of prejudice to the opposing party, leave to amend under




                                                  2
       Case 1:15-cv-01143-MV-KBM Document 20 Filed 03/15/16 Page 3 of 4



Rule 15(a) should be freely given. Wyshak v. City Nat’l Bank, 607 F.2d 824, 826 (9th Cir.

1979). However, courts “need not grant leave to amend where the amendment: (1) prejudices

the opposing party; (2) is sought in bad faith; (3) produces an undue delay in litigation; or (4) is

futile.” Id.

        Plaintiff seeks leave of this Court to amend the Complaint in order to (1) identify some

of the Doe Defendants as discovered following the Fed. R. Civ. P. 26(A) Initial Disclosures;

(2) correctly identify Behavioral Health Services of New Mexico, LLC, d/b/a Central Desert

Behavioral Health Center [see Doc. No. 1]; (3) add a claim for Violations of the Resident Abuse

and Neglect Act, NMSA 1978, § 30-47-3 et seq.; and (4) add a claim for Negligence Per Se. At

the time Plaintiff filed the Complaint, Plaintiff was aware that there were individuals who

provided direct care to Plaintiff that were negligent in their actions and/or omissions of the

standard of care that they provided to Plaintiff, including but not limited to Plaintiff’s admission,

assessment, treatment plan, care and treatment progress. However, at the time the Complaint

was filed, Plaintiff was unable to identify those individuals by name, and as a result, identified

them as Doe Defendants. Following receipt of the Initial Disclosures, Plaintiff was able to

obtain this information, and as such, properly identify them in the Amended Complaint.

        Consequently, Plaintiff intends to show that Plaintiff’s injuries and damages were a

foreseeable consequence of the actions and/or omissions of Defendants, including the named

Doe Defendants, while in Defendants’ care. Because discovery in this matter is in its initial

stages, amending the Complaint does not prejudice the opposing parties, nor does it produce an

undue delay in litigation.




                                                 3
          Case 1:15-cv-01143-MV-KBM Document 20 Filed 03/15/16 Page 4 of 4



          WHEREFORE, Plaintiff prays that this Motion be granted and for such other relief as the

Court may deem just and proper.

                                                               GUEBERT BRUCKNER P.C.



                                                               By         /s/ Elizabeth M. Piazza
                                                                          Christopher J. DeLara
                                                                          David C. Odegard
                                                                          Elizabeth M. Piazza
                                                                          P.O. Box 93880
                                                                          Albuquerque, NM 87199-3880
                                                                          (505) 823-2300
                                                                          cdelara@guebertlaw.com
                                                                          dodegard@guebertlaw.com
                                                                          epiazza@guebertlaw.com
                                                                          Attorneys for Plaintiff
This is to certify that on this 15th day of
March, 2016, the foregoing Motion for
Leave to File First Amended Complaint was
filed electronically through the CM/ECF
system, which caused the following to be
served by electronic means, as more fully
reflected on the Notice of Electronic Filing:

Robert C. Conklin
Traci N. Olivas
Conklin, Woodcock & Ziegler, P.C.
320 Gold SW, Suite 800
Albuquerque, NM 87102
(505) 224-9160
rcc@conklinfirm.com
tno@conklinfirm.com
Attorney for Defendants



/s/ Elizabeth M. Piazza
Christopher J. DeLara
David C. Odegard
Elizabeth M. Piazza
Attorneys for Plaintiff

F:\Clients\7500.001cf\Pleadings\Federal\Motion for Leave to Amend Complaint 2016.02.09 (002).docx/jty




                                                                    4
